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        EXHIBIT 97-B
    Redacted Version of
Document Sought to be Sealed
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     2. Hive Tables
         Facebook’s corporate designee testified that Facebook preserved various Hive tables
in connection with this and related litigation. Plaintiffs leap to the conclusion that all of
these tables contain Named Plaintiff data and say Facebook improperly failed to disclose the
tables. Again, even though Plaintiffs’ assumptions are wrong, Facebook agrees to produce
the schema (i.e. column names) for preserved tables containing user identifiers and will meet
and confer with Plaintiffs regarding a production of Named Plaintiff data from those tables.
This overlaps with information and data Facebook already agreed to provide. Below
Facebook addresses Plaintiffs’ accusations about preserved Hive tables.
         Named Plaintiff Data. Plaintiffs say Facebook should have disclosed a list of
preserved Hive tables because such a list would have identified the most relevant Named
Plaintiff data. This is wrong. Tables in Hive were preserved in connection with this
litigation and related litigation for a number of reasons, many of which have nothing to do
with Named Plaintiff data. Of the         tables identified, a minority contain user identifiers,
and several of those tables were put on hold in connection with Facebook’s April 18, 2022
proposal to produce categories of data requested or referenced by Plaintiffs.
         Searchability. Plaintiffs say testimony that Hive tables can be searched by          or
      undermines prior representations that Plaintiffs’ requests would require searching
“millions of disaggregated data sets.” There is no inconsistency.
         The cited statements concern a broader demand that Plaintiffs narrowed. Plaintiffs
initially requested every data point at Facebook that might relate back to a Named Plaintiff in
any way, including aggregated/fully anonymized data. Facebook explained that satisfying
this request would be technically infeasible as it would require reverse engineering the
underlying sources of data in millions of tables that are not reasonably capable of being
identified to a user. For example, a table could log the number of Facebook users who log
into Facebook each hour, to track peak activity for capacity budgeting, without any data
about which users logged in each hour. Given the breadth of the request, Facebook
explained “[e]ven a large team of engineers working full time for several years likely could
not” “identify all of the information plaintiffs seek.” That is true.
         Before the Special Master, the parties have discussed a narrower set of data that is
capable of being associated with a user’s account—tables that contain user identifiers.
         Cold Storage. Plaintiffs say testimony that “offline” tables can be searched
undermines representations about the searchability of data in cold storage. The testimony
referred to Hive, not cold storage. As Facebook has explained, Hive is “a data system that is
used for offline data storage and analysis,” see 5/11/2022 Submission p. 2, unlike TAO,
which supports the online production environment. Plaintiffs also say testimony undermines
representations that data in cold storage cannot be produced. Facebook did not represent that
data in cold storage cannot be produced. It argued it should not be required to restore tables
consisting of hundreds of petabytes of data, in part because it had accessible (and agreed to
produce), summary versions of the data. The Special Master agreed. See Nov. 8, 2021
Order Re: Facebook’s Motion For Protective Order Against Production of API Call Logs.
3.       Request for Affidavits from Counsel
         Based on the accusations above, Plaintiffs make an unprecedented demand for
affidavits from Facebook’s in-house legal team and Gibson Dunn partners to have worked on
this matter regarding Facebook’s production of preserved Named Plaintiff data. There is no
basis for a request of this nature, which is based on Plaintiffs’ mischaracterizations of the
record, and has nothing to do with the outstanding areas of dispute regarding the parties’
Named Plaintiff data proposals. In any case, Plaintiffs received corporate testimony about
Facebook’s preservation efforts, and, as explained above, agrees to produce data preserved in
sources to which the witness testified. This request should be denied.
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Sincerely,
/s/ Heather L. Richardson
Heather L. Richardson
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              Ex. A
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